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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF FLORIDA
                        TALLAHASSEE DIVISION

JANE DOE, individually and on
behalf of her minor daughter,
SUSAN DOE, et al.,

      Plaintiffs,

v.                                             Case No. 4:23-cv-00114-RH-MAF

JOSEPH A. LADAPO, in his
official capacity as Florida’s
Surgeon General of the Florida
Department of Health, et al.,

     Defendants.
____________________________/

      THE STATE’S RESPONSE IN OPPOSITION TO PLAINTIFFS’
              PRELIMINARY-INJUNCTION MOTION

      Defendants Surgeon General Ladapo, the Florida Board of Medicine, and the

Florida Board of Osteopathic Medicine (collectively, the “State”) oppose Plaintiffs’

preliminary-injunction motion. The reasons for denying the motion are detailed in the

accompanying memorandum.

 Dated: May 15, 2023                         /s/ Mohammad O. Jazil
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                          CERTIFICATE OF SERVICE

      I certify that, on May 15, 2023, this response was filed through the Court’s

CM/ECF system, which will send a notice of electronic filing to all counsel of record.


                                        /s/ Mohammad O. Jazil
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                                  INTRODUCTION

      Simply put, Plaintiffs aren’t entitled to a preliminary injunction. The fact remains

that puberty blockers, cross-sex hormones, and surgeries to treat gender dysphoria in

minors remain experimental and come with potentially negative and permanent health

consequences. Plaintiffs’ evidence doesn’t change this conclusion, and Plaintiffs fail to

establish the four preliminary-injunction factors. Their motion should be denied.

                                   BACKGROUND

      In Dekker v. Weida, 4:22-cv-325 (N.D. Fla. 2022) (“Dekker Doc.”), the Florida

Agency for Health Care Administration provided its position on gender dysphoria,

treatments for gender dysphoria, the federal government’s inconsistency on these

treatments, and the unreliability of the World Professional Association for Transgender

Health’s standards of care and Endocrine Society’s clinical guidelines. See Dekker

Doc.120 (AHCA’s summary-judgment motion); Dekker Doc.49 (AHCA’s response in

opposition to preliminary-injunction motion). The State incorporates and adopts by

reference the arguments made and the evidence provided by AHCA in Dekker. But for

the purposes of this response, the State briefly notes the following.

I.    Gender Dysphoria and the State’s Choices

      Gender dysphoria is the distressing incongruence between an individual’s

biological sex and gender identity. Dekker Doc.120-12 ¶ 28 (Levine report); Dekker Doc.120-

13 ¶ 54 (Hruz report). Biological sex is “determined at conception” at the chromosomal

level, and it “structures [an] individual’s biological reproductive capabilities.” Dekker
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Doc.120-12 ¶¶ 20-21; see also Dekker Doc.120-13 ¶¶ 13-18. While sex is biologically

based, gender “is a human phenomenon.” Dekker Doc.120-12 ¶ 22.

       Gender refers to the traits society associates with biological males and biological

females. Id. ¶¶ 19-27; Dekker Doc.120-13 ¶ 19. Gender identity is an individual’s

subjective sense of his or her gender. Dekker Doc.120-12 ¶¶ 24-27; Dekker Doc.120-13

¶ 20. Unlike sex, gender identity is mutable. See Dekker Doc.120-13 ¶ 58; Dekker

Doc.120-14 at 43 (WPATH standards of care) (“[P]eople may spend some time in a

gender identity or presentation before they discover it does not feel comfortable and

later adapt it or shift to an earlier identity or representation.”).

       Gender dysphoria is a psychiatric diagnosis. Dekker Doc.120-12 ¶ 36. There are

no laboratory tests, imaging, or biopsies that can help establish a diagnosis. Dekker

Doc.120-13 ¶¶ 57-58; see also Dekker Doc.120-15 ¶ 24 (Laidlaw redacted report).

       For those with gender dysphoria, however, behavioral health services can help.

See, e.g., Dekker Doc.120-12 ¶¶ 42-49; Dekker Doc.120-16 ¶ 136 (Kaliebe report). Florida

doesn’t prohibit these services. But, unlike behavioral health services, surgeries, puberty

blockers, and cross-sex hormones come with risks, and their efficacy is suspect—

especially for minors.

       In Dekker, Drs. Hruz, Laidlaw, and Van Meter all discussed the concerns

associated with puberty blockers and cross-sex hormones. Dekker Doc.120-13 ¶¶ 67-

87; Dekker Doc.120-15 ¶¶ 66-140, ¶¶ 149-58; Dekker Doc.120-17 ¶ 20 (Van Meter

rebuttal report). Dr. Hruz explained that puberty blockers suppress natural puberty.
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Dekker Doc.120-13 ¶¶ 67-68. But he cautioned that after “an extended period of

pubertal suppression,” you can’t “turn back the clock” and “reverse changes in the

normal coordinated pattern of adolescent psychological development and puberty.” Id.

¶ 75. Evidence to the contrary is “very weak.” Id. ¶ 78. Puberty blockers and cross-sex

hormones also come with a laundry list of potential health consequences, including

issues with bone density, fertility, cancer, and brain maturation. Id. ¶¶ 67-87.

       Dr. Scott provided a neuroscientist’s perspective on puberty blockers, which are

the first step on the road to physical transition. She explained that the current science

doesn’t support puberty-blocking treatments for minors with gender dysphoria and that

such science is needed, given the “considerable changes” that are happening to brain

development during and after puberty. Dekker Doc.120-18 ¶¶ 12-13 (Scott report). She

stated that “more research” is needed to justify this treatment. Id. ¶ 16. Current studies

suggest that puberty blockers could lead to negative (and perhaps “irreversible”) effects:

lower IQ scores, lower heart rates, greater emotional reactivity, higher anxiety, greater

avoidance behavior, and more risk-taking behavior. Id. ¶ 15.

       Dr. Lappert, a plastic surgeon, worried that surgical treatments to cut healthy

tissue are firmly in the realm of cosmetic surgeries. Dekker Doc.120-19 ¶¶ 47-50

(Lappert report). These treatments introduce the prospect of complications and pose

ethical concerns because, unlike other cosmetic procedures, the goal is to induce

“functional loss” of the breasts and genitalia. Id. ¶¶ 47-50.



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      There are also mental-health consequences to hormone therapies and surgeries.

Dr. Levine, a psychiatrist, commented that “[g]ender transition routinely leads to

isolation from at least a significant portion of one’s family in adulthood” and can impact

future romantic relationships. Dekker Doc.120-12 ¶¶ 198-99. That can negatively affect

mental health. Dr. Levine also responded to claims of positive mental health outcomes

and lower suicidality after hormone therapies: many of those claims lack quality evidence.

Id. ¶¶ 134-73. And Dr. Levine noted that those with gender dysphoria likely have mental

health comorbidities—anxiety disorders, ADHD, autism spectrum disorder, OCD, for

example. Id. ¶¶ 43, 134. As such, it remains unclear whether hormone therapies and

surgeries will resolve underlying mental-health concerns.

II.   Florida Joins the International Consensus

      Countries that were at the forefront of gender-dysphoria treatments have now

backtracked their positions. Finland’s National Science Review, for example, concluded

that “[i]n light of available evidence, gender reassignment of minors is an experimental

practice.” Dekker Doc.13 ¶ 124. Finland reached this conclusion after noting that “there

are no medical treatments (for transitioning) that can be considered evidence-based”

and that the “reliability of the existing studies with no control groups is highly

uncertain,” especially considering the potential “risks” of such treatments, such as

bone-growth and neurological issues. Id.

      Sweden reached a similar conclusion. Its board of health said that “the risks of

puberty blockers and gender-affirming treatment are likely to outweigh the expected
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benefits of these treatment[s]” in minors, and that such treatments should be provided

only in rare cases and ideally as part of experimental trials. Id. ¶ 125.

       The United Kingdom went further still. Its National Institute of Health and Care

Excellence reviewed studies that support hormone therapy for gender-dysphoric

minors. Id. ¶ 126. The institute concluded that “all small, uncontrolled observational

studies” for puberty blockers “are of very low certainty using modified GRADE” and

they “reported physical and mental health comorbidities and concomitant treatments

very poorly.” Id. As for cross-sex hormones, the institute stated that evidence of their

effectiveness was also of a “very low” quality. Id. The United Kingdom’s Cass Report,

which reviewed gender-identity services in the country, stated that there’s a “lack of

consensus and open discussion about the nature of gender dysphoria and therefore

about the appropriate clinical response.” Id.

       Other countries agree. France’s Académie Nationale de Médecine says that

“great medical caution” must be taken “given the vulnerability, particularly

psychological, of this population [gender-dysphoric minors] and the many undesirable

effects, and even serious complications, that some of the available therapies can cause.”

Dekker Doc.53 at 11. The Royal Australian and New Zealand College of Psychiatrists

has said that there’s a “paucity of quality evidence on the outcomes of those presenting

with gender dysphoria.” Id. And Norway has also found the support for the excluded

treatments to be “insufficient,” and their “long-term effects” to be “little known.”

Dekker Doc.120-1.
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III.   The State’s Medical Boards Pass Reasonable Rules

       In 2022, the Florida Board of Medicine and the Florida Board of Osteopathic

Medicine initiated rulemaking processes to create standards of practice for treating

gender dysphoria in minors. Throughout the rulemaking process, the boards made sure

to hear testimony and evidence from both sides of the medical debate. For example,

during an August 2022 meeting, the Board of Medicine invited and heard from Dr.

Michael Haller, a University of Florida pediatric endocrinologist and proponent of

gender-transition treatments.1 Two months later, at a joint meeting, the Board of

Medicine and the Board of Osteopathic Medicine invited and heard testimony from Dr.

Kristin Dayton, Dr. Meredithe McNamara, and Dr. Aron Janssen, who support such

treatments as well2; Dr. Janssen, in fact, submitted expert reports for Plaintiffs in this

case and the Dekker case. Doc.30-5; Dekker Doc.120-28.

       After conducting several hearings, the boards promulgated rules that contain the

same language:

       (1) The following therapies and procedures performed for the treatment
       of gender dysphoria in minors are prohibited.
               (a) Sex reassignment surgeries, or any other surgical procedures,
               that alter primary or secondary sexual characteristics.
               (b) Puberty blocking, hormone, and hormone antagonist therapies.
       (2) Minors being treated with puberty blocking, hormone, or hormone
       antagonist therapies prior to the effective date of this rule may continue
       with such therapies.
       1
           The meeting minutes can be assessed here: https://bit.ly/3BqyUtS.
       2
           The meeting minutes can be assessed here: https://bit.ly/3W0LARP.
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Rule 64B8-9.019, Fla. Admin. Code; Rule 64B15-14.014, Fla. Admin. Code.

         The Board of Medicine’s rule went into effect on March 16, 2023, and the Board

of Osteopathic Medicine’s rule went into effect on March 28, 2023.

                                  LEGAL STANDARD

         A preliminary injunction “is an extraordinary and drastic remedy,” a “powerful

exercise of judicial authority in advance of trial.” Ne. Fla. Chapter of Ass’n of Gen.

Contractors v. Jacksonville, 896 F.2d 1283, 1284-85 (11th Cir. 1990) (cleaned up).

Accordingly, the moving party bears the heavy burden of establishing four factors:

(1) a substantial likelihood of success on the merits, (2) irreparable harm absent a

preliminary injunction, (3) that the threatened harm outweighs any harm to the

nonmoving party, and (4) that the public interest favors a preliminary injunction. Id.

The first two factors are the most important, and when the State is the nonmoving

party, the last two factors merge. Swain v. Junior, 958 F.3d 1081, 1088, 1091 (11th Cir.

2020).

                                       ARGUMENT

         Plaintiffs fail to establish all four preliminary-injunction factors. In fact, their

motion omits more than it includes. For substantial likelihood of success on the merits,

Plaintiffs disregard the operative substantive-due-process-analytical framework, and

they completely omit Dobbs v. Jackson Women’s Health Organization, 142 S. Ct. 2281 (2022),

and Adams v. School Board of St. Johns County, 57 F.4th 7911 (11th Cir. 2022) (en banc), in

their equal-protection arguments. For irreparable harm, Plaintiffs don’t include any
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medical records. And for the remaining factors, Plaintiffs fail to appreciate that the State

is harmed when it can’t enforce its laws and that the State has a compelling interest in

protecting minors against experimental treatments.

I.     Plaintiffs Are Unlikely to Succeed on the Merits

       Plaintiffs are unlikely to succeed on their substantive-due-process and equal-

protection challenges to the two State rules. The Eknes-Tucker Eleventh Circuit panel

has suggested as much when reviewing similar challenges to Alabama’s gender-

dysphoria legislation. See generally Oral Argument, Eknes-Tucker v. Gov. of the State of Ala.,

22-11707 (Nov. 18, 2022). That take makes sense: binding Supreme Court and Eleventh

Circuit precedent clearly foreclose both claims.

       A.     Plaintiffs Don’t Have a Fundamental Right to Gender-
              Dysphoria Treatments

       Plaintiffs contend that the State rules “violate the fundamental right of the Parent

Plaintiffs to obtain established medical care for their children.” Doc.30 at 18. The

Eknes-Tucker Eleventh Circuit panel suggested that this isn’t a strong argument. See Oral

Argument at 18:00-13, Eknes-Tucker v. Gov. of the State of Ala., 22-11707 (Nov. 18, 2022).

Plaintiffs’ arguments here aren’t made any stronger by the absence of the operative

substantive-due-process legal framework in their motion. The State thus provides the

operative framework for them.

       A. A “substantive-due-process analysis has two primary features.” Washington v.

Glucksberg, 521 U.S. 702, 720-21 (1997). The first feature is a careful and precise

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description of the asserted fundamental right. See Reno v. Flores, 507 U.S. 292, 302 (1993)

(Courts must craft a “careful description of the asserted right”). The asserted right must

be “narrowly frame[d]” to “the specific facts” of the case. Doe v. Moore, 410 F.3d 1337,

1344 & n.4 (11th Cir. 2005). It shouldn’t be abstracted. Morrissey v. United States, 871

F.3d 1260, 1269 (11th Cir. 2017). When a party abstracts a right, courts intervene and

properly prescribe the asserted right:

          • In Reno v. Flores, an immigration case, the asserted right wasn’t a right
            to be free from bodily restraint or a right of a “child to be released
            from all other custody into the custody of its parents, legal
            guardians, or even close relatives.” Instead, the asserted right was a
            “right of a child who has no available parent, close relative, or legal
            guardian, and for whom the government is responsible, to be
            placed in the custody of a willing-and-able private custodian rather
            than of a government-operated or government selected child-care
            institution.” 507 U.S. at 302.
          • In Morrisey v. United States, the asserted right wasn’t the right to
            procreate. Instead, the asserted right was “whether a man has a
            fundamental right to procreate via an [in-vitro-fertilization] process
            that necessarily entails the participation of an unrelated third-party
            egg donor and a gestational surrogate.” 871 F.3d at 1269.
          • In Doe v. Moore, the asserted right wasn’t a right to family association,
            a right to be free from threats, a right to be free of interference with
            religious practices, or a right to find or keep employment. Instead,
            the asserted right was a “right of a person, convicted of ‘sexual
            offenses,’ to refuse subsequent registration of his or her personal
            information with Florida law enforcement and prevent publication
            of this information on Florida’s Sexual Offender/Predator
            website.” 410 F.3d at 1343-44.
          • In Case v. Ivey, the asserted right wasn’t a right to “direct the
            upbringing of” “children.” Instead, the asserted right was a right of
            parents “to dress their children and what kind of medical care to
            provide them in the specific context of a [COVID] mask mandate.”
            2022 WL 2441578, at *8 (11th Cir. July 5, 2022) (per curiam).


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       B. The second feature is that the asserted right must be “‘deeply rooted in this

Nation’s history and tradition.’” Glucksberg, 521 U.S. at 720-21 (quoting Moore v. E.

Cleveland, 431 U.S. 494, 502 (plurality op.)). Courts look to whether common law, early

state legislatures, and historical court cases recognized the right. See, e.g., Dobbs v. Jackson

Women’s Health Org., 142 S. Ct. 2228, 2248-56 (2021) (demonstrating that a right to

abortion isn’t deeply rooted in the nation’s history and traditions); Glucksberg, 521 U.S.

at 710 (same for a right to physician-assisted suicide). That way, courts don’t “deduce[]”

rights “from abstract concepts,” like “personal autonomy” or privacy. Glucksberg, 521

U.S. at 725; see also id. at 727 (“That many of the rights and liberties protected by the

Due Process Clause sound in personal autonomy does not warrant the sweeping

conclusion that any and all important, intimate, and personal decisions are so

protected.”).

       C. Here, Plaintiffs’ asserted fundamental right—a parental right to direct their

children’s upbringing—is far too abstract. See Case, 2022 WL 2441578, at *8 (stating

that the asserted “right to direct the upbringing of” children under Troxel v. Granville

was too abstract). Instead, the claimed right should be “narrow[ed]” to “the specific

facts” of this case. Moore, 410 F.3d at 1344. The properly prescribed asserted right is a

right for parents to obtain puberty blockers, cross-sex hormones, and surgeries for their

minor children to treat the minor children’s gender dysphoria. Of course, Plaintiffs

haven’t pleaded or argued that right as such.



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       Nor have they produced any facts that this right is deeply rooted in our nation’s

history and tradition. See, e.g., Dobbs, 142 S. Ct. at 2248-56 (demonstrating that a right to

abortion isn’t deeply rooted in the nation’s history and traditions); Glucksberg, 521 U.S.

at 710 (same for a right to physician-assisted suicide). Plaintiffs can’t allege such facts

because these facts don’t exist. There simply isn’t a deeply rooted right for parents to

obtain gender-transition treatments for their minor children. As a result, such a

“novel[]” right can’t “be considered ‘so rooted in the traditions and conscience of our

people as to be ranked as fundamental.’” Flores, 507 U.S. at 303 (quoting United States v.

Salerno, 481 U.S. 739, 751 (1987)).

       D. Even if such a right existed, the State would overcome any form of

constitutional review: it’s “indisputable ‘that a State’s interest in safeguarding the

physical and psychological well-being of a minor is compelling.’” Otto v. City of Boca

Raton, 981 F.3d 854, 868 (quoting New York v. Ferber, 458 U.S. 747, 756-57 (1982)). That

interest can only be strengthened when the State is safeguarding minors from

experimental treatments with either unknown or potentially negative and permanent

health consequences. See supra.

       E. Before continuing to Plaintiffs’ equal-protection challenge, a final word on

their asserted substantive-due-process right—a parental right to gender-transition

treatments for their minor children. It bears noting that a parent’s parental-rights claim

is “derivative from, and therefore no stronger than,” a minor’s claim. Whalen v. Roe, 429

U.S. 589, 604 (1977). A parent’s “right[] to make decisions for his daughter can be no
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greater than his right[] to make medical decisions for himself.” Doe By & Through Doe v.

Pub. Health Tr. of Dade Cnty., 696 F.2d 901, 903 (11th Cir. 1983). Because parents don’t

have a constitutional right to seek gender-transition treatments—which, again, are

experimental—their minor children don’t have such a right, either.

       Plaintiffs cite Bendiburg v. Dempsey, 909 F.2d 463 (11th Cir. 1990), for the

proposition that parents have a right to make child-rearing decisions. Doc.30 at 19. But

Bendiburg made clear that “[p]arental autonomy may be limited when parental decisions

jeopardize the health or safety of a child, and the state can intercede on the child’s

behalf.” Id. at 470. As established above, the at-issue treatments for gender dysphoria

could jeopardize the health and safety of children. Therefore, the State properly

promulged its rules and interceded on Florida children’s behalf.

                                      *      *      *

       All told, Plaintiffs’ substantive-due-process challenge fails.

       B.     The Equal Protection Clause Doesn’t Apply

       Plaintiffs’ equal-protection challenge fares no better. Just as Plaintiffs omit the

operative substantive-due-process framework, Plaintiffs omit any discussion of Dobbs

v. Jackson Women’s Health Organization, 142 S. Ct. 2228 (2022), or even Adams v. School

Board of St. Johns County, 54 F.4th 791 (11th Cir. 2022) (en banc). These cases defeat their

equal-protection claim.

       A. State health, safety, and welfare regulations are subject to a “strong

presumption of validity.” Dobbs, 142 S. Ct. at 2284 (cleaned up). They “must be
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sustained if there is a rational basis on which” the State “could have thought that it

would serve legitimate state interests.” Id.

       Here, the two State rules are health, safety, and welfare regulations that make a

distinction based on a medical diagnosis: the excluded treatments are generally

unavailable to those with gender dysphoria but are available to those with other

diagnoses (like breast cancer or precocious puberty). The distinction furthers the State’s

interest in protecting its citizens from unnecessary and experimental treatments that

lack quality evidence and that threaten to cause permanent harm like sterilization and

infertility. Rational-basis review is easily met. Dobbs, 142 S. Ct. at 2268; Otto, 981 F.3d

at 868.

       B. Plaintiffs ask for some heightened level of scrutiny to apply because, in their

estimation, the State rules make a discriminatory distinction based on sex or transgender

status. That isn’t so. The challenged rules classify on the basis of a medical condition,

not on the basis of sex or transgender status. The problems with Plaintiffs’ argument

are threefold.

       First, the en banc Eleventh Circuit in Adams v. School Board of St. Johns County

forecloses the sex-based discrimination argument. In that case, the court held that a

school board’s sex-based bathroom-assignment policy doesn’t violate the Equal

Protection Clause. 57 F.4th at 796. The court elaborated that sex-based discrimination

is discrimination based on biological sex. Id. at 807-08. After all, the Equal Protection

Clause protects immutable characteristics, like biological sex. Id. (citing Frontiero v.
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Richardson, 411 U.S. 677, 686 (1973)). That stands in strong contrast to gender identity,

which is mutable and isn’t afforded heightened constitutional protection. Id. at 807-08.

       The Adams school-board policy made a distinction on the basis of biological sex:

mainly, biologically male students use one bathroom, biologically female students use

another bathroom, or a sex-neutral bathroom is available. Id. at 802. “This is a sex-

based classification,” the Eleventh Circuit held. Id. at 801.

       That’s different from the two State rules at issue here. The rules don’t make a

distinction based on biological sex. The rules make a distinction based on a medical

diagnosis—gender dysphoria—which applies to biological males and biological

females. See Lange v. Houston County, 608 F. Supp. 3d 1340, 1354 (M.D. Ga. 2022); see

also Geduldig v. Aiello, 417 U.S. 484, 497 n.20 (1974).

       Regardless of biological sex, the State prohibits certain gender-dysphoria

treatments for minors. Therefore, rational basis—and not heightened scrutiny—

applies, and rational basis is still satisfied.

       Second, the Adams decision forecloses Plaintiffs’ transgender discrimination

argument as well. Notably, the court didn’t hold that transgender status is a quasi-

suspect class. It said that “we have grave ‘doubt’ that transgender persons constitute a

quasi-suspect class” and that “the Supreme Court has rarely deemed a group a quasi-

suspect class.” 57 F.4th at 803 n.5 (citing City of Cleburne v. Cleburne Living Ctr., 473 U.S.

432, 442-46 (1985)). Transgender individuals thus aren’t entitled to heightened

constitutional review per se. Id.
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          Whether to apply heightened review then turns on a Geduldig v. Aiello “identity”

analysis. In Adams, the Eleventh Circuit asked if there was either an “identity” or “lack

of identity” between the school-board bathroom policy and transgender status; an

“identity” between the two would potentially demonstrate unconstitutional

discrimination, but a “lack of identity” would demonstrate a lack of unconstitutional

discrimination. Id. at 809 (quoting 417 U.S. at 497).

          In conducting the analysis, the Adams court observed what groups the bathroom

policy created. The court concluded that the policy “divide[d] students into biological

male and biological female groups.” Id. Because both groups “can inherently contain

transgender students,” there was a lack of identity between the policy and transgender

status.

          The same analysis and conclusion bore out in Geduldig. That case concerned a

state insurance program that excluded coverage for certain pregnancy-related

disabilities. 417 U.S. at 486, 496-97. To determine whether there was an “identity”

between the program and sex, the Supreme Court observed what groups the program

created. Id. at 496 at n.20. According to the Court, the “program divide[d] potential

recipients into two groups—pregnant women and nonpregnant persons. While the first

group is exclusively female, the second includes members of both sexes. The fiscal and

actuarial benefits of the program thus accrue to members of both sexes.” Id. As a result,

there was a lack of identity between the program and sex, and the Court concluded that

the constitution wasn’t violated.
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       The same analysis applies here. The State rules create two groups—a group

affected by the rules, and a group unaffected by the rules. The group affected by the

rules include transgender individuals who suffer from gender dysphoria. The group

unaffected by the rules includes non-transgender individuals and transgender

individuals who don’t suffer from gender dysphoria. Under Adams and Geduldig, there’s a

“lack of identity” between the rules and transgender status. Like the policy in Adams

and the program in Geduldig, the constitution isn’t violated.

       Third, Plaintiffs can’t rely on Bostock v. Clayton County, 140 S. Ct. 1731 (2020), and

Glenn v. Brumby, 663 F.3d 1312 (11th Cir. 2011). In Adams, the Eleventh Circuit

disavowed reliance on Bostock on the equal-protection issue, 57 F.4th at 808-09, and the

court ostensibly relegated both cases to workplace-discrimination disputes, id. at 808-

09, 813-14.

                                      *      *      *

       In sum, rational basis applies. That test is easily met. Plaintiffs’ equal-protection

challenge fails.

II.   Plaintiffs Haven’t Shown Irreparable Harm

       Plaintiffs haven’t shown that they would suffer irreparable harm absent a

preliminary injunction. As with the previous preliminary-injunction factor, they omit

more than they include.

       Plaintiffs omit medical records from their preliminary-injunction motion. In

Dekker, the absence of medical records contributed to the denial of the Dekker plaintiffs’
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preliminary-injunction motion: the “other reason for denying a preliminary injunction is

that the record does not include medical records for these plaintiffs.” Dekker P.I. Trans.

113:12-22. Here, instead of medical records, Plaintiffs provided conclusory declarations.

To be sure, unlike the Dekker case, Plaintiffs provided one declaration from Dr. Rachel

Roe (who saw Susan Doe in November 2022) and a letter from Dr. Nicole Bruno (who

saw Gavin Doe back in 2022). But these declarations are just as conclusory as the Dekker

declarations. Like the Dekker declarations, the declarations and letter here fail to

conclusively demonstrate that gender-transition treatments are necessary for each minor

Plaintiff and that such care would do more good than harm. Compare Dekker Docs.11-6,

11-7, 11-8, 11-9 (affidavits from Dekker plaintiffs), with Dekker Doc.49 at 27-30 (Dr.

Laidlaw’s evaluation of the Dekker plaintiffs’ medical records, explaining that their

preferred treatments would do more harm than good). In other words, the declarations

and letter fail to establish that Plaintiffs would suffer irreparable harm absent a

preliminary injunction.

        In sum, Plaintiffs fail to show irreparable harm.

III.   Plaintiffs Fail to Establish the Remaining Factors

        The remaining preliminary-injunction factors weigh against granting a

preliminary injunction. The public benefits from the State guarding against

experimental and potentially harmful treatments, especially ones directed at minors. See

Otto, 981 F.3d at 868 (quoting Ferber, 458 U.S. at 756-57); see also Dobbs, 142 S. Ct. at

2282 (noting the State’s strong role in making health, safety, and welfare decisions).
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      The public is also served when the State gets to enforce its laws, and the State is

harmed when it’s prevented from doing so. See Hand v. Scott, 888 F.3d 1206, 1214 (11th

Cir. 2018) (The State is “harmed” when it can’t “apply its own laws.”); see also Maryland

v. King, 567 U.S. 1301, 1301 (2012) (Roberts, C.J., in chambers) (“Any time a State is

enjoined by a court from effectuating” its laws, “it suffers a form of irreparable harm.”

(cleaned up)).

      Because Plaintiffs haven’t established a constitutional violation, haven’t shown

irreparable harm, and haven’t shown that their preferred treatments would do more

harm than good, these factors tilt decidedly in the State’s favor.

                                   CONCLUSION

      For the reasons expressed above, this Court should deny Plaintiffs’ preliminary-

injunction motion.

 Dated: May 15, 2023                          /s/ Mohammad O. Jazil
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                       LOCAL RULE CERTIFICATIONS

      I certify that this memorandum contains 4,312 words, excluding the case style

and certifications, and I certify that this memorandum complies with this Court’s

formatting requirements.

                                        /s/ Mohammad O. Jazil
                                        Mohammad O. Jazil (FBN 72556)



                           CERTIFICATE OF SERVICE

      I certify that, on May 15, 2023, this notice was filed through the Court’s

CM/ECF system, which will send a notice of electronic filing to all counsel of record.


                                        /s/ Mohammad O. Jazil
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